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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,        )    1:04-cr-05362 AWI
                                      )
12                     Plaintiff,     )
                                      )    ORDER ON STATE OF CALIFORNIA
13           v.                       )    WRIT FOR HABAES CORPUS AD
                                      )    PROSEQUENDUM
14   EDILBERTO JAQUEZ,                )
                                      )
15                     Defendant.     )
                                      )
16

17           On March 29, 2007, the Honorable Jonathan B. Conklin,

18   Superior Court Judge for the State of California, County of

19   Fresno, requested that the body of the above-named defendant be

20   produced in Fresno County Superior Court for proceedings in the

21   case of People v. Edilberto Jaquez, et al..          The arraignment/pre-

22   preliminary hearing in that action is now to commence on April 4,

23   2007.    The defendant is currently in the custody of the United

24   States Marshal, charged in the above-entitled action.             It

25   appearing that the defendant's presence is needed in the state

26   action, and that the next court appearance in the above-entitled

27   case is April 16, 2007;

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 1        IT IS HEREBY ORDERED that deputies of the Fresno County

 2   Sheriff's Office may take custody of the defendant pursuant to the

 3   terms of the writ, attached hereto, and return him to the custody

 4   of the United States Marshal immediately after his preliminary

 5   hearing and no later than April 13, 2007.        The defendant may be

 6   transported to subsequent state court appearances pursuant to this

 7   writ as long as they do not conflict with hearing scheduled in the

 8   above-entitled action.

 9        IT IS FURTHER ORDERED that the defendant not be transported

10   to State Prison prior to being returned to the custody of the

11   United States Marshal.

12   IT IS SO ORDERED.

13   Dated:   April 3, 2007                 /s/ Anthony W. Ishii
     0m8i78                           UNITED STATES DISTRICT JUDGE
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